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                IN THE UNITED STATES DISTRICT COURT
                FOR THE DISTRICT OF MASSACHUSETTS

JANSSEN BIOTECH, INC.

                        Plaintiff,

                v.                    Civil Action No. 1:17-cv-11008-MLW

CELLTRION HEALTHCARE CO., LTD.,       PUBLIC —
CELLTRION, INC., and                  REDACTED VERSION
HOSPIRA, INC.

                        Defendants.



                   DEFENDANTS’ MEMORANDUM IN
          OPPOSITION TO PLAINTIFF’S MOTION IN LIMINE NO. 6
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I.     INTRODUCTION

       Janssen’s motion in limine no. 6 is Janssen’s third attempt to keep Dr. Michael Glacken

from explaining legitimate and relevant criticisms of Janssen’s liability expert witness to the jury.

This motion seeks to bar Defendants “from offering evidence or argument that the ’083 patent has

a narrow range of equivalents.” Dkt. 266 (Br.) at 11. In particular, it targets Dr. Glacken’s opinion

that a person skilled in the art “would afford the ’083 patent a narrow range of equivalents for the

claimed compositions.”1 Ex. 1 (Glacken Rebuttal Report) ¶ 68. According to Janssen, equivalence

under the doctrine of equivalents “does not change depending on how the claims are written or

how a person of skill would read them.” Dkt. 266 (Br.) at 11. Janssen is wrong.

       Janssen’s approach to infringement in this case is to afford the ’083 patent a near-limitless

range of equivalents. Indeed, Janssen must disregard the patent’s claims to support its

unprecedented twelve-way (or more) doctrine of equivalents theory against the accused GE

HyClone cell culture media. Janssen’s expert, Dr. Michael Butler, has opined on the scope of

equivalents, explaining that the claim limitations are mere “guidelines for estimation,” Ex. 2

(1/30/18 Hr’g Tr.) at 82:20–83:3, and that “any concentration of an ingredient” on a so-called

“plateau” of “interchangeable concentrations” is equivalent because it “allow[s] the media to

perform, to function in [a] particular way.” Id. at 44:10–16.

       Dr. Glacken should be allowed to respond to Dr. Butler’s opinion on the scope of

equivalents. Dr. Glacken explains that a person of ordinary skill in the art (“POSA”) would find

no support in the ’083 patent for Dr. Butler’s and Dr. Florian Wurm’s approach to the doctrine of

equivalents. These opinions are unquestionably relevant and admissible because “‘the vantage



1
 While Janssen does not specify the paragraphs it challenges, it appears Janssen is referring to
paragraphs 61–68.
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point of one of ordinary skill in the relevant art provides the perspective for assessing the

substantiality of the differences’ between the claimed invention and the accused device.” Lighting

World, Inc. v. Birchwood Lighting, Inc., 382 F.3d 1354, 1357 (Fed. Cir. 2004), overruled on other

grounds by 792 F.2d 1339. Thus, the Court should deny MIL 6.

II.    ARGUMENT

       Janssen does not want the jury to hear Dr. Glacken’s opinion that “[g]iven the intrinsic

record and the extensive prior art, a POSA would afford the ’083 patent a narrow range of

equivalents for the claimed compositions.” Ex. 1 (Glacken Rebuttal Report) ¶ 68. It argues that

“[t]here is no legal or factual basis for the contention that a patent is afforded a ‘narrow’ range of

equivalents depending on how a person of ordinary skill would read the claims.” Br. at 11. But the

Federal Circuit has explained that “all claim limitations are not entitled to an equal scope of

equivalents.” Moore U.S.A., Inc. v. Standard Register Co., 229 F.3d 1091, 1106 (Fed. Cir. 2000).

The equivalence “inquiry focuses on ‘an examination of the claim and the explanation of it found

in the written description of the patent,’” and is conducted “from the perspective of someone

skilled in the art.” AquaTex Indus., Inc. v. Techniche Sols., 479 F.3d 1320, 1326 (Fed. Cir. 2007)

(citation omitted); see also Lighting World, 382 F.3d at 1357. And one reason that a “limitation[]

[may] warrant little, if any, range of equivalents” is “the inherent narrowness of the claim

language.” Moore, 229 F.3d at 1106.

       Dr. Butler opines on the scope of equivalents for the ’083 patent, explaining that “there is

a plateau for equivalent concentrations in terms of any element in the media any concentration of

an ingredient.” Ex. 2 (1/30/18 Hr’g Tr.) at 75:3–12. And if an ingredient’s “concentration is on the

plateau,” Dr. Butler asserts it is “substantially equivalent to any other concentration on the

plateau.” Id. at 50:20–23. According to Dr. Butler, the plateau’s width may be 2500 times the

minimum concentration (or more). Id. at 51:19–24.


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       Dr. Glacken’s opinions respond to precisely this point, addressing how a POSA would

view the range of equivalents of the ’083 patent. It is proper for Dr. Glacken to provide such

competing expert testimony and opinions to “expose” the “flaws in [Dr. Butler’s] opinion.” United

States v. Mooney, 315 F.3d 54, 63 (1st Cir. 2002). And Dr. Glacken properly provides these

opinions from “the vantage point of one of ordinary skill in the relevant art.” Lighting World, 382

F.3d at 1357.

       Indeed, many of Dr. Glacken’s opinions in these paragraphs respond directly to Dr.

Butler’s claims about the scope of equivalents. For example, when assessing infringement, Dr.

Butler opines                                                                           Ex. 3 (Butler

Opening Infringement Report) ¶ 42, but “were meant to be the guidelines for estimation.” Ex. 2

(1/30/18 Hr’g Tr.) at 82:20–83:3. In contrast, Dr. Glacken explains that a POSA would believe

that “the inventors carefully chose the upper and lower concentration ranges,” and that “these

concentrations are indeed meaningful, as clearly the inventors did not arbitrarily specify a uniform

2-fold, 5-fold, 10-fold, or 100-fold concentration span on either side of each of the MET 1.5

concentrations.” Ex. 1 (Glacken Rebuttal Report) ¶ 63–64. As another example, Dr. Butler opines

that

                     See, e.g., Ex. 3 (Butler Opening Infringement Report) ¶¶ 58–60, 73–75. In

response, Dr. Glacken opines on how a POSA would assign importance to the fact that Janssen

identified specific ingredients and specific ranges in claim 1, but specified the requirements of

claim 2 more broadly and generally. Id. ¶ 65. Dr. Glacken also discusses how a POSA would have

read claim 1 “more strictly given the advanced state of the prior art,” i.e., “the ’083 patent is not a

pioneering or first-of-its-kind invention… [e]ach of the claimed ingredients was commonly used

in cell culture media in amounts that overlap with the claimed concentration ranges.” Id. ¶ 66.




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       Dr. Glacken also offers opinions on the intrinsic record of the ’083 patent, which are plainly

admissible. See, e.g., AquaTex, 479 F.3d at 1326 (citation omitted). Indeed, Janssen concedes that

such testimony “can be useful, for example, to assist in determining the function, way, and result

to consider for various claim elements.” Dkt. 266 (Br.) at 13. Dr. Glacken discusses, for instance,

the ’083 patent’s claims about the “need in the art for a chemically defined media composition,”

the single disclosed embodiment, and ratios of the low end of the claimed range to the high end of

the claimed range. Ex. 1 (Glacken Rebuttal Report) ¶ 61, 63. Janssen cannot plausibly argue these

opinions are improper.

       Janssen cites no case precluding an expert from offering testimony like Dr. Glacken’s

testimony that Janssen tries to exclude here, or even suggesting it should be precluded. Janssen’s

cases stand only for broad legal propositions which do not require exclusion of Dr. Glacken’s

testimony. Janssen cites to Jang v. Boston Sci. Corp., 872 F.3d 1275 (Fed. Cir. 2017), for the

proposition that equivalence is determined by the function-way-result test or insubstantial

difference inquiry. Similarly, Janssen cites Warner-Jenkinson, Jang, and Abbot Labs v. Dey, LP,

287 F.3d 1097 (Fed. Cir. 2002) to show prosecution history estoppel, vitiation, and ensnarement

are limitations on the doctrine of equivalents. Janssen further cites Interactive Pictures Corp. v.

Infinite Pictures, Inc., 274 F.3d 1371 (Fed. Cir. 2001) to argue that the intrinsic record is relevant

to the evaluating the doctrine of equivalents. And finally, Janssen cites Honeywell Int’l, Inc. v.

Hamilton Sundstrand Corp., 370 F.3d 1131 (Fed. Cir. 2004), for the principle of “claim

differentiation.” None of these cases address the testimony by an expert witness, like Dr. Glacken,

offered in rebuttal to a plaintiff’s expert’s opinions regarding the scope of equivalents, regarding

how a POSA would understand the scope of equivalents.




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       The Court should reject Janssen’s other arguments for exclusion of this testimony as

equally meritless. For example, Janssen argues that Dr. Glacken is “attempt[ing] to impose a

limitation on the doctrine of equivalents that does not exist in the law.” Dkt. 266 (Br.) at 13. He is

doing nothing of the sort. As explained above, Dr. Glacken’s opinions are his scientific view, about

how a POSA would “assess[] the substantiality of the differences between the claimed invention”

of the ’083 patent “and the accused device” in view of the intrinsic record. Lighting World, 382

F.3d at 1357. He is not suggesting a “purported limitation[] on the scope of the doctrine of

equivalents.” Id.

       Similarly, contrary to Janssen’s claim, Dr. Glacken is not offering an ensnarement

argument. Br. at 13. Dr. Glacken’s discussion of the crowded prior art field is relevant because a

POSA “is presumed to be aware of all the pertinent prior art.” Custom Accessories, Inc. v. Jeffrey–

Allan Indus., Inc., 807 F.2d 955, 962–963, (Fed. Cir. 1986); see also MPEP § 2141.03. Thus, the

prior art is a relevant factor in the equivalence inquiry, including, e.g., the POSA’s “examination

of the claim and the explanation of it found in the written description of the patent.” AquaTex, 479

F.3d at 1328–9; see also Lighting World, 382 F.3d at 1357. This is different from ensnarement,

which places limits on the reach of the doctrine of equivalents based on one or more specific pieces

of prior art. Jang v. Boston Sci. Corp., 872 F.3d 1275, 1285 (Fed. Cir. 2017).

       Further, Janssen suggests Dr. Glacken should not be allowed to offer these opinions

because he does not opine that the differences between the accused GE HyClone media and the

’083 patent are substantial. This is a non-sequitur. Infringement is Janssen’s burden, and Dr.

Glacken’s opinion shows that Janssen failed to carry that burden. Lopes v. Hardware Distrib., Ltd.,

67 Fed. App’x 604, 607 (Fed. Cir. 2003).




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       As to Janssen’s argument that “Dr. Glacken should not be allowed to testify that the

preferred embodiment limits the range of equivalents,” Dkt. 266 (Br.) at 14, Janssen identifies no

basis to suggest that Dr. Glacken will testify that “the ranges of equivalents of claim 1 is in effect

limited to media that would be equivalent to claim 6.” Id. Regardless, it is unquestionably

appropriate to take into account “the written description of the patent,” which includes the

preferred (and only) embodiment. AquaTex, 479 F.3d at 1326.

       Finally, Janssen asserts that this is merely a “repackaging” of Dr. Glacken’s opinion that

claim 1 “ha[s] no range of equivalents.” Dkt. 266 (Br.) at 12. This argument is wrong and

irrelevant. Dr. Glacken offered all of these opinions in his original rebuttal report and, indeed,

Janssen’s original motion in limine against Dr. Glacken noted this opinion. 15-cv-10698 Dkt. 343

at 9. Janssen identifies no substantive changes to support its “repackaging” charge. And Dr.

Glacken will not testify that the ’083 patent is entitled to no equivalents, the objection Janssen

previously raised. Dr. Glacken’s opinions are relevant, so Janssen’s argument is baseless.

III.   CONCLUSION

       The Court should deny Janssen MIL 6 because Dr. Glacken’s testimony shows how a

POSA would view the ’083 patent, which is relevant to evaluating infringement under the doctrine

of equivalents.




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Dated: June 4, 2018                 Respectfully submitted,

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                                    and Hospira, Inc.

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                                 CERTIFICATE OF SERVICE

        I, Andrea L. Martin, hereby certify that this document filed through the ECF system will

be sent electronically to the registered participants as identified on the Notice of Electronic Filing

(NEF) and paper copies will be sent to those indicated as non-registered participants on June 4,

2018.

                                               /s/Andrea L. Martin, Esq.
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